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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov


In re:                                             Case No. 16-10389-AJC

LIZA HAZAN a/k/a ELIZABETH HAZAN,                  Chapter 11

         Debtor,
                                            /

NLG, LLC
A Delaware limited liability company and
CHRIS KOSACHUK, an interested party                        Adv. No. 18-

         Plaintiffs,

v.

LIZA HAZAN a/k/a ELIZABETH HAZAN

         Defendant/Debtor.
                                            /


                       COMPLAINT TO REVOKE CONFIRMATION ORDER
                           AND DISCHARGE ORDER FOR FRAUD

         Plaintiff, NLG,LLC, (“NLG”) through undersigned counsel, and Chris Kosachuk, pro se,

hereby sue Defendant Debtor, Liza Hazan, a/k/a Elizabeth Hazan (the “Debtor” or “Defendant”),

to revoke the Confirmation and Discharge Orders for fraud and alleges as follows:

                                           COUNT I

          1.     This is an action against the Debtor to revoke the Confirmation Order [BK ECF

No. 691 and attached hereto as Exhibit 1] for fraud pursuant to 11 U.S.C. § 1144, FED. R.

BANKR. P. 9024 and FED. R. CIV. P. 60(d)(3).
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                                Parties, Jurisdiction and Venue

       2.      Plaintiff, NLG, is a Delaware limited liability company and the largest creditor of

Debtor Defendant Liza Hazan.

       3.      Plaintiff, Chris Kosachuk, is an interested party.

       4.      Debtor/Defendant Liza Hazan (the “Debtor”) is the debtor in the bankruptcy case

of In re Liza Hazan a/k/a Elizabeth Hazan, Case No. 16-10389-AJC, pending before this Court

(the “Bankruptcy Case”).

       5.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§§ 157(b), 1334(b) and 2201(a) because this action is a core proceeding under 28 U.S.C. §

157(b)(2)(A) and (L). The statutory predicate for the relief requested is 11 U.S.C. § 1144, FED.

R. BANKR. P. 9024 and FED. R. CIV. P. 60(d)(3). The Bankruptcy Rules provide that “a

proceeding to revoke an order of confirmation of a chapter 11 … plan” is an adversary

proceeding. FED. R. BANKR. P. 7001(5).

       6.      Venue is proper in this Court under 28 U.S.C. § 1409 because this action arises in

or relates to the Bankruptcy Case.

       7.      This is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (L).

                                       Factual Allegations

   A. The Fraudulent Official Bank Checks Used for Confirmation

        8.     The Debtor filed the Bankruptcy Case on January 11, 2016.

        9.     In order to proceed to confirmation and obtain the Confirmation Order, the Debtor

filed several documents to support her contention that she had made all the payments to

unsecured creditors pursuant to the proposed Plan. [See BK ECF No. 684, 688 and 713].
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        10.    At the confirmation hearing on May 30, 2018 the following exchange in regards

to these payments to unsecured creditors occurred:

        THE COURT: And the United States Trustee have a position?

                MS. ARMENGOL: Your Honor, we have reviewed all the payments and
        the checks that Ms. Hazan has with her, and we can confirm that she has all of
        those, in addition to unpaid taxes that she paid for 2016 and 2017, which was an
        issue we had raised at prior hearings. So with that, Your Honor, we have no
        objection to confirmation.

        May 30, 2018 Transcript, p. 10 and attached hereto as Exhibit 2

        11.    Those payments included a series of official checks. Those official checks have

also been presented to Judge Moreno in NLG’s Appeal of this Court’s November 1, 2017 Final

Judgment [See NLG, LLC v. Selective Advisors Group, LLC and Liza Hazan, Case No. 18-

24272-CIV-MORENO ECF No. 25-1]. Copies of the relevant checks filed with Judge Moreno

are attached hereto as Exhibit 3.

        12.    The Debtor refers to unsecured Class #12 claims as being paid in full in her post

confirmation hearing Declaration of Disbursements BK ECF No. 684 filed on May 31, 2018.

Attached hereto as Exhibit 4 is this declaration of disbursements.

        13.    The Debtor refers to those same unsecured class #12 creditors being paid in full in

her post confirmation hearing Declaration of Disbursements BK ECF No. 688 filed on June 1,

2018 with each class #12 claim being listed separately. Attached hereto as Exhibit 5.

        14.    Debtor’s attorney, Mr. Aresty, then filed a post confirmation hearing motion BK

ECF No. 713 on July 5, 2018 and again referenced completed payments made to those same

unsecured creditors. Attached hereto as Exhibit 6.

        15.    Each of these docket entries purports that the following creditors were paid in

full:
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               Sterling Emer Svcs Class #12 for $2,445.30;

               Mount Sinai Phys Practice Class #12 for $295.91; and

               Mount Sinai Phys Practice Class #12 for $3,240.00.

        16.    In fact, Debtor Hazan never sent these official checks to her unsecured creditors

because she simply returned these official checks back to her bank and signed the backs of the

official checks with the statement “NOT USED FOR PURPOSE INTENDED” the day after the

confirmation hearing on May 31, 2018. As such, Debtor Hazan provided knowingly false

evidence of payments to this Court, the District Court and United States Trustees Office.

        17.    The copies of the official checks confirming that the official checks were returned

to her bank are attached hereto as Exhibit 7.

        18.    As can been seen from the official checks, they were purchased from the bank on

May 29, 2018, photographed, and then used by the Debtor as evidence of payment confirmation

at the confirmation hearing on May 30, 2018.

        19.    Debtor thereafter simply returned to the bank for refunds on May 31, 2018, the

day after the Debtor defrauded this Court.

        20.    After the Debtor returned these official checks to the bank on May 31, 2018, she

filed her perjurious Declarations of Disbursements with this Court on June 1, 2018 [ECF No. 684

and 688 and Exhibit 4 and 5 herein] claiming that these unsecured creditors had been paid when

in fact they had not been paid. When the Debtor filed these Declarations, she swore under the

penalty of perjury that the declarations were true when in fact they were knowingly false.

        21.    The Debtor (1) made this false representation to the Court; (2) knew that the

Declarations were false because she had just returned those checks to the bank the day before;

(3) that the representation was made to induce the court to rely upon it; (4) that the court did rely
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upon it; and (5) that as a consequence of such reliance, the court entered the confirmation order.

[See BK ECF No. 691 Confirmation Order and attached hereto as Exhibit 1].

        22.      In reliance on these knowingly fake checks and false declarations, the Debtor

induced the United States Trustee to support confirmation of the Plan which she did and in turn

induced this Court to confirm the Plan, which it did, also relying on these fake payments.

        The Debtor’s Undisclosed Asset and Transfer and Mortgages

        23.      Prior to August 15, 2011, the Debtor owned a residential condo unit located at 1

East 62nd Street No. 1A, New York, New York 10065 (the “Spencer Condo”). On August 15,

2011, the Debtor transferred the New York Condo out of her name and into the name of an

individual named Raymond Houle for no consideration (the “Spencer Condo Transfer”). Mr.

Houle eventually transferred the condo, again for no consideration, to Real Estate Holding

Group, LDC, an entity controlled by the Debtor’s husband, Sean Meehan. See Deed Transfers

and Affidavit by Mr. Meehan, [Exhibit 8].

        24.      The first Spencer Condo Transfer occurred just a little over four years prior to the

Petition Date.

        25.      Although that is outside the four-year statute of limitations under Chapter 726 of

the Florida Statutes, it is well within the six-year statute of limitations period applicable to

fraudulent transfers under the law of New York, where the transfers occurred.

        26.      The Debtor owes a substantial tax liability to the IRS (about $485,703.40) that

was incurred before the Spencer Condo Transfer. See [BK ECF No. 21 p. 13 and BK ECF

No.563 p. 15 and IRS Proof of Claim #3].

        27.      In addition to being actionable under New York law, the Spencer Condo

Transfers may also be avoidable under Florida law and Section 544(b).
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         28.    Although the Debtor claimed in the Fifth Amended Disclosure Statement that she

had completed her investigation into potentially avoidable transfers, the Spencer Condo Transfer

was not mentioned at all in her Fifth Amended Disclosure Statement or in her bankruptcy

schedules or amended schedules. [See BK ECF No. 562 p. 12, BK ECF Nos. 21 and 90].

         29.    Debtor Hazan concealed her ownership interest in the Spencer Condominium.

She clearly is still the beneficial owner even though she fraudulently conveyed the title. Attached

hereto as Exhibit 9 is one of those mortgages recorded on the Spencer Condo to the Hazan’s

attorney Geoffrey Aaronson’s law firm, for $145,000. Attorney Aaronson was counsel of record

for the Debtor in the Bankruptcy Case.

         30.    This mortgage also discloses mortgages to three other unsecured but preferred

creditors, Bruce Jacobs for $55,000, Robert P. Lithman for $95,000 and Mark Cohen for

$25,000. These three attorneys represented Hazan and her husband’s corporation, Selective

Advisors Group, LLC, at various stages of the state court foreclosure proceedings in front of

Judge Gordo.

         31.    All three were listed as unsecured creditors in the Debtor’s original bankruptcy

petition and have now become secured creditors to the detriment of the other creditors.

         32.    Attorney Aaronson was present at the confirmation hearing, supported

confirmation but never disclosed his secured creditor status, nor the other attorneys’ secured

creditor status, to the detriment of all other creditors.

         33.    In fact he told the Court: “Good afternoon, Your Honor. Geoffrey Aaronson,

Aaronson Schantz Beiley, P.A., also former counsel for the debtor. I'm appearing here on behalf

of my firm, basically just an interested party. We’re appropriately dealt with in the plan”. May

30, 2018 Confirmation Hearing Transcript p. 4.
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        34.     Attorney Aaronson knew that representation he just made was misleading and

without belief in its truth, or was made with reckless disregard for the truth because Mr.

Aaronson was the holder of a Mortgage executed on November 14, 2016, secured by the Spencer

Condo and thus his claim was not actually part of the Plan.

        35.     In fact, Attorney Aaronson even notarized the mortgage and agreed that upon

payment, he would return the original Promissory Note and Mortgage directly to Debtor Hazan.

        36.     Attorney Aaronson made the false representation to induce the court to rely upon

it; the court did rely upon it; and, as a consequence of such reliance, the court entered the

confirmation order.”

        37.     As detailed above, revocation of the Confirmation Order is justified.


   WHEREFORE, NLG respectfully requests that the Court enter judgment (a) revoking the

Confirmation Order for fraud pursuant to 11 U.S.C. § 1144, FED. R. BANKR. P. 9024 and FED.

R. CIV. P. 60(d)(3), (b) awarding NLG its reasonable attorney’s fees and costs incurred against

the Debtor and her attorneys and (d) granting such other and further relief as the Court deems

appropriate.

                                              COUNT II

        38.     NLG incorporates the allegations of paragraphs 1 through 37 of the complaint as

though fully set forth herein.

        39.     This is an action seeking to revoke the Discharge Order [BK ECF No. 766 and

attached hereto as Exhibit 10] pursuant to 11 USC §727.

        40.     Because the Confirmation Order was procured via fraud it is now appropriate to

revoke the Discharge Order as well.
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       WHEREFORE, NLG respectfully requests that the Court enter judgment (a) revoking

the Discharge Order for Fraud pursuant to 11 U.S.C. § 1144, FED. R. BANKR. P. 9024, FED. R.

CIV. P. 60(d)(3) and 11 USC §727 (b) awarding NLG its reasonable attorney’s fees and costs

incurred against the Debtor and her attorneys and (c) granting such other and further relief as the

Court deems appropriate.

Dated: December 8, 2018

                                              Respectfully submitted,
    Attorneys for NLG, LLC
    Juan Ramirez, Jr.                                    Astrid E. Gabbe
    ADR Miami LLC                                        The Law Office of Astrid E. Gabbe, P.A.
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    Pro Se Plaintiff
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    West Chester, PA 19382-8144
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               CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

       I hereby certify that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice
in this court set forth in Local Rules 2090-1(A).

                                            Respectfully submitted,

                                              /s/ Astrid E. Gabbe
                                              The Law Office of Astrid E. Gabbe, P.A.
                                              Florida Bar No. 635383
                                              P.O. Box 4216
                                              Hollywood, FL 33083
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             ORDERED in the Southern District of Florida on June 11, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________
                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov


         In re:                                              Case No: 16-10389 AJC
                                                             Chapter 11
     Liza Hazan
      Debtor.                 /

                             ORDER CONFIRMING PLAN OF REORGANIZATION

             THIS MATTER came before the Court on May 30, 2018 at 2:00 PM. upon Doc 563 Liza Hazan
     a/k/a Elizabeth Hazan’s Fourth Amended Plan of Reorganization and Doc 562 Liza Hazan a/k/a Elizabeth
     Hazan’s Fifth Amended Disclosure Statement both filed 11/15/17 proposed by (the "Debtor" or
     "Proponent") and Order Approving Amended Disclosure Statement and Setting Hearing on
     Confirmation of Plan entered 12/13/17 Doc 580.

             In connection with the confirmation of the Plan, the Court has reviewed and considered the: (i)
     Certificate on Acceptance of Plan and Tabulation of Ballots Filed by Debtor Doc 681 , (the "Ballot
     Certificate") and (ii) Confirmation Affidavit Filed by Debtor Doc 680, (the "Confirmation Affidavit"). The
     Court has also: (i) reviewed and considered the entire record in this Chapter 11 Case, including the
     Proponent’s Disclosure Statement and the Plan; (ii) considered the argument of counsel; (iii)
     considered the testimony of the Debtor as set forth in the Confirmation Affidavit which was proffered
     at the Confirmation Hearing without objection, and representations of counsel at the hearing, and (iv)
     considered the other evidence presented at the hearing.

          The only creditors who previously objected to or voted against the plan were present, and
     announced that they were changing their votes to support the plan or had no objection.
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                       I. FINDINGS OF FACT AND CONCLUSIONS OF LAW

Based upon the above and in consideration of the record in this case, the Court makes the following
findings of fact and conclusions of law pursuant to Rule 7052, Federal Rules of Bankruptcy
Procedure, and Rule 52(a), Federal Rules of Civil Procedure. Where appropriate, findings of fact shall
constitute conclusions of law and conclusions of law shall constitute findings of fact. See In re
American Family Enterprises, 256 B.R. 377, 385 n,2 (Bankr. N.J, 2000); In re Antar, 122 B,R, 788,
789 (Bankr. S.D. Fla. 1990).

      A. The Court conducted a hearing to consider approval of the Disclosure Statement and Plan
      filed by the Debtor.

      B. There has been adequate and sufficient notice of: (i) the Plan and the Disclosure Statement;
      (ii) the deadline to file and serve objections to the confirmation of the Plan and to the adequacy
      of the Disclosure Statement; (iii) the deadline for voting on the Plan; and (iv) the hearing date
      on the approval of the Disclosure Statement and Confirmation of the Plan. Debtor has
      afforded all parties in interest with an adequate opportunity to be heard regarding the
      Disclosure Statement and the Plan. The Plan and Disclosure Statement were served upon all
      parties entitled to vote thereon.

      C. The Court has jurisdiction over this matter pursuant to 11 U.S.C. §§ 105, 1121
      through 1129; 28 U.S.C. §§ 157(a), (b)(I) and (b)(2)(L), 1334(a) and (b), the United States
      District Court's general Order of reference, and other various applicable provisions of the
      Bankruptcy Code and Bankruptcy Rules.

      D. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a);

      E. In accordance with section 1122(a) of the Bankruptcy Code, Article II of the
      Plan classifies all Claims that are substantially similar to each other in discrete classes. The
      Plan, therefore, satisfies section 1122(a) of the Bankruptcy Code;

      F. The Plan adequately and properly classifies all Claims and Interests required to be
      classified and, accordingly), satisfies section 1123(a)(1) of the Bankruptcy Code;

      G. Articles II through V of the Plan specify any class of Claims or Interests that are impaired or
      unimpaired under the Plan, and accordingly, satisfy section
      1123(a)(2) and (3) of the Bankruptcy Code;

      H. The Plan provides the same treatment for each Claim or Interest in each Class unless the
      holder of such a Claim or Interest agrees to less favorable treatment, if applicable, and
      accordingly, satisfies section 1123(a)(4) of the Bankruptcy Code;

      I. The Disclosure Statement Article III sets forth the means by which the Plan will be
      implemented, and accordingly, makes adequate means for its implementation and satisfies
      section 1123(a)(5) of the Bankruptcy Code; the Plan will be funded through funds from the
      ongoing operation of the Debtor’s properties and jobs;

      J. Each of the Voting Classes have accepted the Plan in the requisite number of
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ballots, and in the requisite dollar amount, as required pursuant to 11 U.S.C
§ 1126(c) and as set forth in the Ballot Certificate;

K. The Ballot Certificate correctly set forth the tabulation of votes, as required by the
Bankruptcy Code, Bankruptcy Rules, and the Local Rules of the Bankruptcy Court for the
Southern District of Florida;

L. The Plan was voted on by all Classes of Impaired Claims that were entitled to
vote pursuant to the Bankruptcy Code, the Bankruptcy Rules, and the Confirmation
Procedures Order;

M. The Ballot Certificate and evidence at the hearing reflects that all Classes have accepted or
not rejected the Plan;

N. All other objections to confirmation were announced to be settled at the Confirmation
Hearing;

O. The Plan complies with all applicable provisions of the Bankruptcy Code,
including 11 U.S.C. § 1129(a) and (b) with respect to all Classes of Claims and Interests under
the Plan, and, as required by Bankruptcy Rule 3016(a), the Plan is dated and identifies the
Debtor as the Proponent;

P. The Proponents of the Plan complied with all applicable provisions of the
Bankruptcy Code, including 11 U.S.C. § 1129;

Q. The Plan has been proposed and submitted to all Creditors and Interest Holders in good
faith and not by any means forbidden by law and therefore 11 U.S.C. § 1129(a)(3) is satisfied;

R. All payments made, or to be made, by the Debtor in connection with this Chapter 11 case or
in connection with the Plan either have been approved by or are subject to the approval of the
Bankruptcy Court, including applications for compensation and reimbursement of expenses
and, therefore, the Plan satisfies the requirements of 11 U .S.C. § 1129(a)(4);

S. The Proponent of the Plan has disclosed the identity of the individual Reorganized Debtor,
who will serve after the Confirmation Date and, therefore, the Plan satisfies the requirements
of II U.S.C. § 1129(a)(5);

T. The Plan does not discriminate unfairly, is fair and equitable, and otherwise
complies with all of the provisions of Section 1129(b) of the Bankruptcy Code with respect to
each Class of Claims or Interests that are impaired under the Plan, including without limitation,
creditors holding Unsecured Claims who will receive more on account of their Claims under
this Plan, than they would receive in a chapter 7 liquidation;

U. The Plan and Disclosure Statement were accompanied by projections that support the
financial viability of the Reorganized Debtor, and, accordingly, the requirements of 11U.S.C. §
1129(a)(11) are satisfied;


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V. The ongoing operation of the properties and incomes of Debtor will provide sufficient funds
available for the payment in whole of: (i) Allowed Administrative Expense Claims (unclassified),
which will be paid on the Effective Date; (ii) United States Trustee's Fees (unclassified);
secured claims and a dividend to unsecured creditors.

THEREFORE, BASED UPON THE FOREGOING FINDINGS, IT IS ORDERED
AS FOLLOWS:

1. The Plan is CONFIRMED pursuant to 11 U.S.C. § 1129.

2. The findings of fact and conclusions of law set forth above shall constitute the findings of
fact and conclusions of law of this Court pursuant to Bankruptcy Rule 7052. To the extent any
finding of fact later shall be determined to be a conclusion of law, it shall be so deemed, and to
the extent any conclusion of law later shall be determined to be a finding of fact, it shall be so
deemed.

3. All of the Terms and provisions of the Disclosure Statement and Plan are approved.

4. There are no allowed Administrative Expense Claims other than those of the Debtor’s
professionals and US Trustee fees. Administrative Expense Claims related to professional fees
and costs shall be awarded by separate order of the Court.

5. Discharge. Because the Debtor is an individual—
(A) unless after notice and a hearing the court orders otherwise for cause, confirmation of the
plan does not discharge any debt provided for in the plan until the court grants a discharge on
completion of all payments under the plan;
(B) at any time after the confirmation of the plan, and after notice and a hearing, the Court may
grant a discharge to the Debtor who has not completed payments under the plan if—
(i) the value, as of the effective date of the plan, of property actually distributed under the plan
on account of each allowed unsecured claim is not less than the amount that would have been
paid on such claim if the estate of the Debtor had been liquidated under chapter 7 on such
date;
(ii) modification of the plan under section 1127 is not practicable; and (iii) subparagraph (C)
permits the court to discharge; and (C) the court may grant a discharge if, after notice and a
hearing held not more than 10 days before the date of the entry of the order granting the
discharge, the court finds that there is no reasonable cause to believe that—
(i) section 522(q)(1) may be applicable to the Debtor; and (ii) there is pending any proceeding
in which the Debtor may be found guilty of a felony of the kind described in section
522(q)(1)(A) or liable for a debt of the kind described in section 522(q)(1)(B); and if the
requirements of subparagraph (A) or (B) are met.

6. As of the Effective Date all pre-petition property of the estate shall re-vest in the
Reorganized Debtor.

7. Any judgment obtained in any court other than this Court is null and void as a determination
of the individual liability of the Debtor with respect to debts dischargeable or determined by this
Court to be discharged under 11 USC § 1141.

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8. All creditors whose judgments are declared null and void (if any) are enjoined from
commencing, continuing, or employing any action, process, or act to collect, recover, or offset
any such debts as personal liability of the Debtor, or from property of the Debtor, whether or
not discharge of such Debtor is waived

9. All creditors are also enjoined from commencing, continuing, or employing any action,
process, or act to collect, recover, or offset any debts, or enforce any liens against the Debtor
on account of any debt that existed as of the Petition Date.

10. The Debtor shall pay the United States Trustee the appropriate sum required pursuant to
28 U.S.C. Section 1930(a)(6), through Confirmation, within ten (10) business days of entry of
this Confirmation Order. The Reorganized Debtor shall file with the Court post-confirmation
Quarterly Operating Reports and pay the United States Trustee the appropriate sum required
pursuant to 28 U.S.C. § 1930(a)(6) for post-confirmation periods within the time period set forth
in 28 U.S.C. § 1930(a)(6), based upon all post-confirmation disbursements, until the earlier of
the closing of this case by the issuance of a order by the Bankruptcy Court, or upon the entry
of an Order by the Bankruptcy Court dismissing this case or converting this case to another
chapter under the United States Bankruptcy Code.

11. To the extent applicable, the Reorganized Debtor shall have the standing and authority to
pursue all claims objections. Upon the resolution of all claims objections, if any, and upon this
Confirmation Order becoming final, the Reorganized Debtor shall file a Final Report of Estate
and Motion for Final Decree Closing Case (the "Final Report") on the Court approved local
form.

12. The Reorganized Debtor shall pay all allowed claims at such time an in such amounts as
provided for in the Plan.

13. The failure to reference or address all or part of any particular provision of the
Plan herein shall have no effect on the validity, binding effect, or enforceability of such
provision, and such provision shall have the same validity, binding effect, and enforceability as
every other provision of the Plan. To the extent that any inconsistencies exist between the
terms of the Plan and this Confirmation Order, the terms of this Confirmation Order shall
control, except as otherwise provided herein.

14. If any provision of this Confirmation Order is hereafter modified, vacated, or reversed by
subsequent order of this Court, or any court, such reversal, modification, or vacation shall not
affect the validity of the obligations incurred or undertaken under or in connection with the
Plan, nor shall such reversal, modification, or vacation of this Confirmation Order affect the
validity or enforceability of such obligations. Notwithstanding any reversal, modification, or
vacation of this Confirmation Order, any such obligation incurred or undertaken pursuant to,
and in reliance on, this Confirmation Order prior to the effective date of such reversal,
modification, or vacation, shall be governed in all respects by the provisions of this
Confirmation Order and the Plan, and all documents, instruments, and agreements related
thereto, or any amendments or modifications thereto.

15. The Debtor has complied with all of the provisions of the U.S. Bankruptcy Code and the
Federal Bankruptcy Rules concerning notice, disclosure, and solicitation in connection with the
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Plan, the Disclosure Statement, the Modification, and all other matters considered by this
Court in connection with this Chapter 11 case. The Debtor properly served the Confirmation
Procedures Orders and gave proper notice of the Confirmation Hearing in accordance with
Bankruptcy Rules 2002, 3017(d), and 3020(b)(2). The Notice and the opportunity given for a
hearing before the Court on the approval of the Disclosure Statement and the confirmation of
the Plan was adequate and satisfactory under the circumstances of this case.

16. All executory contracts and unexpired leases listed in Article VI of the Plan are
deemed either assumed or rejected as indicated in the Plan as of the date of the
Confirmation Hearing, and the Reorganized Debtor is authorized to enter into such
contracts as they deem appropriate in the exercise her business judgment without the
need for a motion and hearing in this Court.

17. The Bankruptcy Court shall retain jurisdiction:
        (a) To enable the Debtor to consummate the Plan and any amended or modified Plan
and to resolve any disputes arising with respect thereto;
        (b) To enable the Debtor to consummate any and all proceedings that it may bring prior
to the entry of the Confirmation Order;
        (c) To determine all controversies relating to or concerning the classification,
subordination, allowance, valuation or satisfaction of Claims;
        (d) To liquidate or estimate for purposes of allowance all contested, contingent or
unliquidated Claims;
        (e) To determine the validity, extent and priority of all liens, if any, against property of
the estate;
        (f) To determine all assertions or an ownership interest in, the value of, or title to, any
property of the estate;
        (g) To determine all objections to Administrative Claims;
        (h) To determine all (1) adversary proceedings, contested or litigation matters brought
before the Bankruptcy Court; and, (2) any and all claims or Causes of Action asserted by the
Debtor, either by and through the Debtor or Reorganized Debtor;
        (i) Without limiting the generality of the preceding paragraph, to determine any
Avoidance Action brought by the Debtor;
        (j) To determine all controversies arising out of any purchase, sale, or contract made or
undertaken by the Debtor prior to the Confirmation Date;
        (k) To enforce all agreements assumed, if any, and to recover all property of the estate,
wherever located;
        (I) To determine any tax Iiability of the estate in connection with the Plan, actions taken,
distributions or transfers made thereunder;
        (m) To enforce any and all injunctions created pursuant to the terms of the Plan;
        (n) To modify the Plan or to remedy any defect or omission or reconcile any
inconsistencies in the Plan either before or after the entry of the Confirmation Order;
        (0) To hear and determine all controversies, suits, and disputes that may arise in
connection with the interpretation or enforcement of the Plan;
        (p) To make such orders as are necessary or appropriate to carry out the provisions of
the Plan.

18.         Pursuant to 11 U.S.C. § 1141(d)(5)(A), the Debtor shall be discharged from all pre-
Confirmation debts except as is provided in the Plan, pursuant to the procedures set forth herein,
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           Case
            Case16-10389-AJC
                  16-10389-AJC Doc
                                Doc767
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upon completion all payments required under the Plan to unsecured creditors. Upon the
satisfaction of all payments required under the Plan to unsecured creditors, the Reorganized
Debtor shall file a Final Report of Estate and Motion for Final Decree Closing Case on the Court
approved local form.
        (a)    Notwithstanding the above, the Debtor may request that the Court close this
bankruptcy proceeding prior to the entry of an Order of Discharge, pursuant to the following
procedures:
        (b)    The Debtor may file a Motion to Temporarily Close Bankruptcy Case Prior to Entry
of Order of Discharge (the “Motion to Close”) after the following events have occurred: (I)
payment of the Initial Payment (defined in the Plan) to Unsecured Creditors; (ii) payment of all
outstanding quarterly United States Trustee Fees as of the date of the Order approving the
Motion to Temporarily Close; and (iii) the filing of all outstanding federal income tax returns. The
Motion to Close shall certify that each of the above conditions have been met.
       (c)     The Motion to Close (and Notice of Hearing thereto) shall be served to all creditors
and interested parties. The Court may grant the Motion to Close, pursuant to 11 U.S.C. § 350(a),
if each of the above conditions have been met.
        (d)    During the time that this bankruptcy case is temporarily closed, the provisions of
the confirmation order shall remain in effect with respect to the
treatment of creditor claims that existed as of the bankruptcy petition date, as long as the Debtor
continues to be in compliance with the Plan and the Court’s Order Confirming Debtor’s Plan of
Reorganization and Setting Bar Date for Lease and Executory Contract Rejection Claims (the
“Confirmation Order”), and as long as the Debtor timely makes all of the payments to unsecured
creditors, as contemplated under the Plan.
        (e) Upon the satisfaction of all payments required under the Plan to Unsecured
Creditors, the Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11
U.S.C. § 350(b). Any Clerk of Court fees associated with filing of the motion to reopen shall be
waived. The motion to reopen shall be verified and served upon all creditors and parties in
interest and shall demonstrate that the Debtor has made all of the payments contemplated under
the Plan to Unsecured Creditors.
        (f) Upon the re-opening of this bankruptcy proceeding, the Debtor shall promptly file a
Final Report of Estate and Motion for Final Decree Closing Case on the Court-approved local
form, which shall certify that all payments required under the Plan to Unsecured Creditors have
been made. The Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. §
1141(d)(5).


                                                 ###
Submitted by: David W. Langley who will serve copies to: all creditors and appearances.




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 1                    UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
 2                                 MIAMI DIVISION
 3
 4
 5
      IN RE:                                    CASE NO. 16-10389-AJC
 6                                              CHAPTER 11
      LIZA HAZAN,
 7
                         Debtor.
 8   ___________________________/
 9
10
11                       ECF# 563, 590, 599, 607, 610
12
13                                   May 30, 2018
14
15                    The above-entitled cause came on for hearing
16   before the Honorable A. JAY CRISTOL,               one of the Judges in
17   the   UNITED    STATES      BANKRUPTCY       COURT,      in    and    for   the
18   SOUTHERN    DISTRICT      OF FLORIDA, at 301 North Miami Avenue,
19   Miami,    Miami-Dade      County,       Florida, on        May      30,   2018,
20   commencing     at    or   about     2:12 p.m.,       and      the    following
21   proceedings were had:
22
23
24          Transcribed from a Digital Audio Recording by:
                    Margaret Franzen, Court Reporter
25


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 1                            APPEARANCES:
 2
                    DAVID W. LANGLEY, ESQUIRE
 3                   On behalf of the Debtor
 4
 5                  JOEL M. ARESTY, ESQUIRE
                   Former Counsel for the Debtor
 6
 7
                   AARONSON SCHANTZ BEILEY, by
 8                GEOFFREY S. AARONSON, ESQUIRE
                  Former Counsel for the Debtor
 9
10
                 MARSHALL SOCARRAS GRANT, by
11                  JOE M. GRANT, ESQUIRE
            On behalf of Selective Advisors Group
12
13
             REBECCA CASAMAYOR, ATTORNEY-AT-LAW
14     On behalf of Valencia Homeowners' Association
15
16                       JUAN RAMIREZ, ESQUIRE
                         On behalf of NLG, LLC
17
18
           OFFICE OF THE UNITED STATES TRUSTEE, by
19            JOHANNA ARMENGOL, ATTORNEY-AT-LAW
                       Attorney/Advisor
20          On behalf of the United States Trustee
21
22                           ALSO PRESENT:
23
                      LIZA HAZAN, Debtor
24        ECRO - Electronic Court Reporting Operator
25
                             - - - - - - -

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 1                 THE COURT:     The next matter is Liza Hazan.

 2                 MR. ARESTY:     Your Honor, if it please the

 3   Court, Ms. Hazan is out in the conference room doing a

 4   last minute settlement that should result in a consensual

 5   plan.

 6                 I'm here also for the Blohm matter, which is

 7   consensual and has no objections.

 8                 (Thereupon, the Court heard another matter

 9   on its calendar, after which the following proceedings

10   were had:)

11                 THE COURT:     We'll adjourn the Blohm matter

12   and see how soon we are ready to get back to the Hazan

13   matter.

14                 Appearances on Hazan.          Apparently Mr. Furr

15   is reported to be out in telephone land.            Are you out

16   there, Mr. Furr?

17                 COURTCALL OPERATOR:         Mr. Furr did not check

18   in on CourtCall, Your Honor.

19                 THE COURT:     Okay.      Who else is here?

20                 MR. LANGLEY:        Good afternoon, Your Honor.

21   David Langley here for the debtor, Elizabeth Hazan, and

22   Ms. Hazan is in the courtroom with us.

23                 MS. CASAMAYOR:        Rebecca Casamayor,

24   C-a-s-a-m-a-y-o-r, here for the creditor, Valencia

25   Homeowners' Association.


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 1                   MR. GRANT:    Good afternoon, Your Honor.

 2   Joe Grant, G-r-a-n-t, on behalf of Selective Advisors

 3   Group.

 4                   MS. ARMENGOL:      Good afternoon again,

 5   Your Honor.    Johanna Armengol, A-r-m-e-n-g-o-l, for the

 6   U.S. Trustee.

 7                   MR. ARESTY:    Joel Aresty, A-r-e-s-t-y, I was

 8   former counsel for the debtor-in-possession, I'm still a

 9   creditor, Your Honor, and was helping out Ms. Hazan with

10   some of the forms.

11                   MR. AARONSON:      Good afternoon, Your Honor.

12   Geoffrey Aaronson, Aaronson Schantz Beiley, P.A., also

13   former counsel for the debtor.        I'm appearing here on

14   behalf of my firm, basically just an interested party.

15   We're appropriately dealt with in the plan.

16                   MR. RAMIREZ:      Good morning, Your Honor --

17   afternoon.    Juan Ramirez, R-a-m-i-r-e-z, on behalf of NLG.

18                   THE COURT:    Thank you.      Anyone else?

19                   All right.    Where are we and what are we

20   going to do here today?

21                   MR. LANGLEY:      Judge, we're here to confirm

22   the fourth amended plan.

23                   First a housecleaning matter, if I may,

24   Judge?   There was one pending objection to confirmation by

25   the Valencia Homeowners' Association, and we just worked


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 1   that out today.     We have a proposed stipulation that I'll

 2   be filing today between the debtor and Valencia that takes

 3   care of their objection.

 4                 We tendered -- Ms. Hazan tendered a

 5   cashier's check for the amount due that we agreed upon to

 6   Valencia, and with that, they've agreed to withdraw their

 7   objection to confirmation and to change their ballot from

 8   objecting to accepting.

 9                 THE COURT:       That's your position Mrs. --

10   Ms. Casamayor?

11                 MS. CASAMAYOR:         Yes, that's correct.         We are

12   also dealt with in the plan, but as far as just the

13   objection and the basis for the objection, that's been

14   resolved through the stipulation and the cashier's check.

15                 THE COURT:       Very well.      What's next?

16                 MR. LANGLEY:         Yes, we're asking that the

17   Court approve the stipulation, which we will be filing.

18                 THE COURT:       You both agreed.

19                 MS. CASAMAYOR:         Yes.

20                 THE COURT:       The Court will always endorse an

21   agreement, unless something unusual prevents it.               So you

22   can ---

23                 MS. CASAMAYOR:         I don't think there's

24   anything usual.     We'll -- we'll just submit it ---

25                 THE COURT:       All right.      Then you can submit


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 1   an agreed order on it.

 2                     MS. CASAMAYOR:       Yes, yes, we'll file it --

 3                     MR. LANGLEY:       Okay.    Very good.

 4                     MS. CASAMAYOR:       -- and submit an agreed

 5   order.

 6                     THE COURT:     Very well.

 7                     MR. LANGLEY:       Very good.       Thank you, Judge.

 8                     We have essentially worked out every

 9   other -- agreements with every other creditor.                 I don't

10   know that anybody is actually objecting from NLG.                  If we

11   need to address that, we will.

12                     MR. RAMIREZ:       Yes.    Well, I just want to

13   make sure the Court realizes that we have an appeal

14   pending, and the appeal was reinstated by Judge Gayles.

15   Now they have raised the fact that they don't think your

16   final order that you entered in the adversary proceeding

17   was, indeed, a final order, so they are -- raised that

18   now.    So if that is not a final order, then that is still

19   pending before you in this -- in this case.

20                     THE COURT:     And has there been a supercedes

21   entered in that case?

22                     MR. LANGLEY:       Yeah, nothing -- nothing

23   entered, Judge.

24                     Mr. Ramirez is correct, there is an issue

25   pending before Judge Gayles on whether the final judgment


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 1   of November 1, that's the -- the name of the document,

 2   whether it's actually final for appellate purposes.                  It

 3   resolved three out of nine counts in the adversary, it

 4   left some remaining to go to trial, so I think it pretty

 5   clearly is not, but that's an issue for Judge Gayles.

 6                   For confirmation purposes, there's nothing

 7   in the NLG matters that would affect confirmation.                  The

 8   final judgment of November 1, 2017 is the law of the case

 9   and it states that the mortgage has been satisfied, that

10   the claim has been disallowed, and that NLG has no

11   standing in this case.

12                   The Tucker case that we cited to the Court

13   in our motion, and I have a copy if the Court would like

14   it, it stands for the -- it's a Middle District case, it

15   stands for the proposition that absent a motion for stay

16   relief, the pendency of an appeal is not an impediment to

17   confirmation.

18                   So despite everything else that we're doing

19   with NLG ---

20                   THE COURT:     Well, it is not unless there is

21   a stay in place, but you're saying there is no stay.

22                   MR. LANGLEY:      There's no stay.

23                   THE COURT:     Mr. Ramirez, do you agree there

24   is no stay?

25                   MR. RAMIREZ:      There is no stay, Judge.


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 1                 THE COURT:     Okay.

 2                 MR. RAMIREZ:        But I just want to correct

 3   that it's not the law of the case until the appellate case

 4   is decided.

 5                 THE COURT:     Well, but if something happens

 6   in the interim, it may moot out the appeal, that's why it

 7   makes a big difference.     If there's a stay, then nothing

 8   can happen until that matter is decided, but if there is

 9   no stay and things go along a track to where they're not

10   reversible, then it possibly or probably would moot the

11   issue, but in any event, what's next?

12                 MR. LANGLEY:        And, Judge, the plan provides

13   for payment to unsecured creditors so that Ms. Hazan can

14   get a discharge, that doesn't affect NLG.             So I think

15   we're in a good position to -- to be confirmed.

16                 We have filed a confirmation affidavit.                We

17   filed the debtor's certificate of compliance, that's

18   Docket Entry 677.   My certificate of proponent of plan,

19   acceptance of the plan, we've gone through the ballots and

20   with the change for Valencia to accepting, we have

21   100 percent acceptance of the plan.

22                 And we have filed Ms. Hazan's confirmation

23   declaration, that's at Docket Entry 680, which is very

24   thorough, it goes through her -- her preparations of the

25   plan, it confirms that the plan complies with all of the


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 1   requirements of Section 1129, and I would submit that to

 2   the Court as a proffer, as our statement as to the

 3   confirmability of the fourth amended plan.

 4                   THE COURT:    So you're offering the affidavit

 5   in evidence?

 6                   MR. LANGLEY:      Yes, Judge, Docket Entry 680.

 7                   THE COURT:    Any objection to the admission

 8   of the affidavit into evidence?         There being no objection,

 9   it is admitted in evidence.

10                   Does anyone wish to cross-examine the

11   affiant?   There being no request for same, it is admitted

12   in evidence without objection.

13                   Proceed.

14                   MR. LANGLEY:      That takes care of it, Judge.

15                   In addition to the plan being confirmable,

16   Ms. Hazan is here today with cashier's checks payable to

17   all of the creditors that get effective date payments, so

18   by the end of the day today, the effective date payments

19   will be paid.

20                   This bankruptcy, as you know, Judge, has

21   been a real impediment to Ms. Hazan's business, and we

22   would like to get this case administratively closed, if

23   possible, with an agreed order that we would submit.

24                   I don't know that we need any follow-up

25   hearings because the effective date payments are going out


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 1   today.   Nobody is objecting to that.         Nobody is objecting

 2   to the confirmation.    Our goal is to try to get this case

 3   administratively closed.

 4                  THE COURT:    And the United States Trustee

 5   have a position?

 6                  MS. ARMENGOL:       Thank you, Your Honor.

 7                  We have reviewed the certificates of plan

 8   proponent and the ballot certificate, Document 677,

 9   Your Honor, which was admitted into evidence before I was

10   able to stand up, was -- seems to have been filed by

11   Mr. Aresty.   Mr. Aresty is no longer counsel of record,

12   Your Honor.

13                  We would request that that be refiled by

14   Mr. Langley just to have the procedural -- all the

15   procedures correct before, you know, confirmation.

16                  In addition, Your Honor, we have reviewed

17   all the payments and the checks that Ms. Hazan has with

18   her, and we can confirm that she has all of those, in

19   addition to unpaid taxes that she paid for 2016 and 2017,

20   which was an issue we had raised at prior hearings.

21                  So with that, Your Honor, we have no

22   objection to confirmation.        However, we would request that

23   document 677 be refiled.

24                  THE COURT:    Mr. Langley --

25                  MR. LANGLEY:       Judge, it was.


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 1                    THE COURT:     -- any problem?

 2                    MR. LANGLEY:        It was refiled at Docket Entry

 3   680.    I -- I filed it.

 4                    THE COURT:     Does that cover it, Madam United

 5   States Trustee?

 6                    MS. ARMENGOL:        No, Your Honor.       That

 7   document needs to be refiled, Your Honor.

 8                    THE COURT:     All right.

 9                    MR. LANGLEY:        I can certainly do that today,

10   Judge.

11                    THE COURT:     Very well.       Then what else can

12   we do here today?

13                    MR. LANGLEY:        With Your Honor's permission,

14   we would like to submit an order confirming the plan; and

15   with Your Honor's permission, an agreed order

16   administratively closing the case.

17                    THE COURT:     Does the U.S. Trustee have any

18   objection to the administrative order closing the case?

19                    MS. ARMENGOL:        No, Your Honor, as long as

20   there's a certificate of compliance that all the payments

21   went out and that's filed --

22                    THE COURT:     Very well.

23                    MS. ARMENGOL:        -- prior to closing of the

24   case.

25                    THE COURT:     Very well.       Then, Mr. Langley,


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 1   you may submit both of those orders, both are approved,

 2   and what else can we do other than say congratulations

 3   on --

 4                   MR. LANGLEY:        Yes, Judge, I think ---

 5                   THE COURT:     -- successfully completing an

 6   11?

 7                   MR. LANGLEY:        Yes, I think Ms. Hazan

 8   deserves some congratulations for --

 9                   MS. HAZAN:     Thank you, Judge.

10                   MR. LANGLEY:        -- getting it this far.

11                   MS. HAZAN:     Thank you, Your Honor --

12                   MR. LANGLEY:        Yes, thank you so much, Judge.

13                   MS. HAZAN:     -- for everything

14                   THE COURT:     Very well, then.          Anything

15   further before we adjourn?          Apparently not.

16                   THE MARSHAL:        All rise.

17                   THE COURT:     I wish you all a good day and

18   we'll adjourn this hearing.

19                   (Thereupon, the hearing was concluded.)

20

21

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23

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25


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 1
 2
 3                            CERTIFICATION
 4
 5   STATE OF FLORIDA         :
 6   COUNTY OF MIAMI-DADE     :
 7
 8                 I, Margaret Franzen, Court Reporter and
 9   Notary Public in and for the State of Florida at Large, do
10   hereby certify that the foregoing proceedings were
11   transcribed by me from a digital recording held on the
12   date and from the place as stated in the caption hereto on
13   Page 1 to the best of my ability.
14                 WITNESS my hand this 5th day of July 2018.
15
16
17                 ______________________________
18                           MARGARET FRANZEN
19                Court Reporter and Notary Public
              in and for the State of Florida at Large
20                      Commission #GG187411
                              April 14, 2022
21
22
23
24
25


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                                               on12/08/18
                                                  FLSD Docket
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               Case 16-10389-AJC
                         Document 25-1
                                  Doc 767
                                       Entered
                                           Filed
                                               on12/08/18
                                                  FLSD Docket
                                                          Page11/20/2018
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               Case 16-10389-AJC
                         Document 25-1
                                  Doc 767
                                       Entered
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                                               on12/08/18
                                                  FLSD Docket
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                                       Entered
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                                               on12/08/18
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     EXHIBIT A LIST OF EFFECTIVE DATE PAYMENTS PAID PURSUANT TO THE PLAN


           NAME OF CREDITOR             CLAIM     SCHEDULED          FIRST DIVIDEND
                                                  AND/OR
                                        NUMBER                       TO BE PAID
CLASS
                                                  CLAIMED
                                                  AMOUNT             PURSUANT TO
                                                                     PLAN


5          Valencia Estates Comm.       #10       $4,062.00          $ 4,062.00
           Assoc


6          Fisher Island Comm. Assoc.             settled            $0

7          Miami-Dade Water             #7        $1,502.54          $1,502.54

           Convenience Class:
12


           IRS Claim #3                                              $ 1,085.00
                                                  $ 24,663.00
           IRS first priority payment                                $2,674.34

           American InfoSource
           T Mobile Claim #2                                         $ 1,130.00

           American InfoSource
           Direct TV Claim #9                                        $ 461.00



           FPL Claim #11                #13                          $ 2,906.93

           Sterling Emer Svcs                                        $2,445.30

           Mount Sinai Phys Practice                                 $295.91

                                                                     $3,240

           HSBC Bank USA NA                                          $1,070.66

           Wells Fargo                  #12                          $323.24

           U.S. Trustee                                              $651.07
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                                      Case
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                                                                   UNITED  STATES  BANKRUPTCY  COURT  
                                                                     SOUTHERN  DISTRICT  OF  FLORIDA  
                                                                           www.flsb.uscourts.gov  
                                                                                       
                  In  re:                                                                  Case  No:  16-­10389  AJC  
                                                                                           Chapter  11  
Liza  Hazan  
  Debtor.                                                    /  
                                                                      
                                            CORRECTED  MOTION  TO  REOPEN,    
                                      FINAL  REPORT  AND  MOTION  FOR  DISCHARGE,  
                               AND  MOTION  FOR  ENTRY  OF  FINAL  DECREE  AND  TO  RECLOSE  
                                                                                      	  
                   Reorganized  Debtor  Liza  Hazan  a/k/a  Elizabeth  Hazan,  by  and  through  her  
           undersigned  counsel,  files  this  Motion  to  Administratively  Reopen  Individual  Chapter  11  
           Case  to  Obtain  Discharge  and  Final  Decree  and  to  reclose  (“Motion”)  and  Pursuant  to  
           Local  Rule  3022-­1(A),  the  undersigned  files  this  Final  Report  and  Motion  for  discharge  and  
           Final  Decree  and  represents:  
	  
	  
                      1.  On  May  30,  2018,  the  Court  granted  the  Confirmation  of  the  Chapter  11  Plan.  The  
                      Order  granting  confirmation  of  the  Fourth  amended  plan  filed  on  November  15,  2017  
                      (“Doc  563”)  was  entered  on  June  12,  2018  and  was  docketed  at  Doc  691.  The  plan  
                      provided  for  41%  payment  of  the  unsecured  allowed  claims.  On  June  13,  2018  the  
                      Court  entered  an  Agreed  Order  Granting  Reorganized  Debtor's  Ore  Tenus  Motion  to  
                      Administratively  Close  Individual  Chapter  11  Case  After  Confirmation  docketed  at  
                      Doc  692.  
                        
                      2.  As  evidenced  by  the  attached  detailed  accounting,  the  reorganized  Debtor  has    
                        now  completed  all  payments  called  for  under  the  Confirmed  Plan  and  Confirmation    
                      Order.    The  payments  required  by  the  plan  have  been  distributed  and   all   matters  
                      to  be   completed   upon   the   effective   date   of   the   confirmed  plan  have  been    
                      fulfilled  or  completed;;  Doc  684  Declaration  of  Disbursements.  
                        
                      3.  Having  completed  all  plan  payments,  the  reorganized  Debtor  is  now  eligible  to  
                      discharge  pursuant  to  §1141  (d)(5)(A).  
                          
                      4.  There  is  no  reasonable  cause  to  believe  that  §522(q)(1)  is  applicable  to  the  
                        reorganized  Debtor,  and  there  is  no  pending  proceeding  in  which  the  reorganized    
                      Debtor  may  be  found  guilty  of  a  felony  of  the  kind  described  in  §522(q)(1)(A)  or    
                      liable  for  a  debt  of  the  kind  described  in  §522(q)(1)(B).  
                        
                      5 . All  administrative  claims  and  expenses  have  been  paid  in  full,  or  appropriate    
                      arrangements   have   been   made   for   the   full   payment   thereof.  A   summary   of   fees     
                      and  expenses  is  as  follows:  
	  
                      $      n/a  Trustee  Compensation  (If  trustee  received  compensation  under  more  than  
                      one  chapter)
           	  
           	  
           	  
           	  
           	  
           	  
           	  
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            $      n/a  Fee  for  Attorney  for  Trustee  
            $        arranged  -­Fees  for  Attorneys  for  Reorganized  Debtor,  awarded  and  appropriate        
                         arrangements  have  been  made      
            $      paid  U.S.  Trustee  (fees  required  by  28    U.S.C.  §1930)    
            $      paid  Clerk  of  Court  (fees  required  by  28  U.S.C.  §1930)  
            $      n/a    All  expenses,  including  Trustee's  
              
                          6.        Attached  as  Exhibit  A  is  a  distribution  report  detailing  the  payments  made    
                                                under  the  plan  on  and  after  the  effective  date.  
                          7.        Pursuant  to  Fed.  R.  Bankr.  P.1007(b)(7),  the  undersigned  represents  that  11  
                                               U.S.C.  §  1141(d)(3)  is  not  applicable  to  the  reorganized  Debtor,  or  the  
                                               reorganized  Debtor  has  filed  a  statement  of  completion  of  the  personal          
financial  management  course.    
               	  
                WHEREFORE,  The  reorganized  Debtor  respectfully  requests  that  this  court  (1)  grant  
       this  Motion  and  administratively  reopen  this  case,  (2)  enter  a  discharge  of  the  reorganized  Debtor,  
       (3)  enter  a  final  decree  closing  this  fully  administered  individual  Chapter  11  case,  and  (4)  
       grant  such  other  and  further  relief  as  the  Court  deems  appropriate..  
	  
             I  certify  that  a  copy  of  this  report  and  attachments  was  emailed  to  the  U.S.  
       Trustee's  office  on  7/7/18.  
               
               
               
               
	  
                                                           	  
       JOEL  M.  ARESTY,  P.A.                             	  
       Counsel  for                                        	  
       Reorganized  Debtor                                 	  
                                                           	  
       Liza  Hazan                                         	  
       309  1st  Ave  S                                    	  
                                                           	  
       Tierra  Verde,  FL                                  	  
       33715                                               	  
       Phone:  305-­904-­1903                              	  
                                                           	  
       Fax:  800-­559-­1870                                	  
       E-­mail:  Aresty@Mac.com                            	  
                                                           	  
       By:  /s/Joel  M.  Aresty                            	  
       Fla.  Bar  No.  197483                              	  
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
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                                          EXHIBIT    A
         
	  
  
       LIST  ALL  PAYMENTS  MADE  ON  OR  BEFORE  THE  EFFECTIVE  DATE  OF  THE  PLAN,  
          OR   IF   INDIVIDUAL   CHAPTER   11,   ALL   PAYMENTS   MADE   UNDER   THE   PLAN.*  
       SEPARATE   CLAIMANTS   BY   CLASSIFICATION   UNDER   THE   PLAN  AND   PROVIDE  A  
          TOTAL   FOR   EACH   CLASSIFICATION.  LIST   THE   NAME   OF   EACH   RECIPIENT,  
         AMOUNT  OF  THE  ALLOWED  CLAIM  AND  THE  AMOUNT  THAT  WAS  PAID  (USE  
                                 CONTINUATION  PAGE  IF  NECESSARY).    
  
	  
Name  Of  Creditor             Claim  Number         Class  Number       Payment  In  Plan  
                                                                           
                                                                           
                                                                           
                                                                           
                               Claim  #  3                                 
IRS  priority                                                            $2,674.34   Paid           at  
                                                     Class  1            Confirmation  
                                                                           
Valencia  Estates              Claim  #  10                              $4,062.00    
Community                                                                Paid  at  confirmation  
Association,  Inc.    
                                                     Class  5  
                                                     Class  7              
Miami-­Dade   Water   &        Claim  #  7                               $1,502.54    
Sewer  Department                                                        Paid  at  confirmation  
                                                     Class  8              
IRS  secured                   Claim  #  3                               $22,948.00  
                                                                         Paid  after  confirmation  
American   InfoSource          Claim  #  2           Class  12           $1,130.00  
TMobile                                                                  Paid  at  confirmation  
Class  12    
S&S  Collections               Claim  #  13          Class  13           $6,968.04  
                                                                         Paid  after  confirmation  
IRS  unsecured                 Claim  #  3           Class  12           $1,085.00   Paid   at  
                                                                         confirmation    
American   info   Source       Claim  #  9           Class  12           $461.00        Paid     at  
Direct  TV  Class  12                                                    Confirmation  
FPL  Class  12                 Claim  #  11          Class  12           $2,906.93   Paid           at  
                                                                         Confirmation  
Sterling  Emer  Svcs                                 Class  12           $2,445.30   Paid           at  
                                                                         Confirmation  
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                                                                                 Confirmation    
Mount  Sinai  Phys                                        Class  12              $295.91      Paid       at    
Practice                                                                         Confirmation  
                                                                                 $3,240.00   Paid        at  
                                                                                 Confirmation  
HSBC  Bank  USA  NA                                       Class  12              $1,070.66   Paid        at  
                                                                                 Confirmation  
Wells  Fargo                  Claim  #  12                Class  12              $323.24      Paid       at  
                                                                                 Confirmation  
Total  class  12                                                                 $12,958.04   Paid       at  
                                                                                 Confirmation  
Total                                                                            $651.07      Paid       at  
                                                                                 Confirmation  
Total        
                                                                                   
                                                                                   
                                                                                 $51,764.03  
     
     
     
   *Class   13   JMB   Urban   900   in   the   amount   of   $275,000   is   the   subject   of   a   Non-­
   dischargeable  Judgment  and  therefore  is  not  sought  to  be  discharged.    
     
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           ORDERED in the Southern District of Florida on December 6, 2018.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                   Case No. 16-10389-BKC-AJC

          LIZA HAZAN a/k/a ELIZABETH HAZAN,                        Chapter 11

                      Debtor.
          __________________________________________/

           ORDER GRANTING MOTION TO REOPEN CASE TO APPROVE FINAL REPORT,
                   AND ENTER DISCHARGE TO REORGANIZED DEBTOR

                   THIS MATTER came before the Court for hearing on August 9, 2018 at 10:30 a.m. upon

          the Reorganized Debtor, Liza Hazan a/k/a Elizabeth Hazan (“Reorganized Debtor”)’s Corrected

          Motion to Reopen this Chapter 11 case to grant the Reorganized Debtor’s Discharge and enter a

          Final Decree and to re-close the case [ECF No. 713] (the “Motion”), and again on October 24,

          2018 at 2:00 p.m. upon the Court’s Order Setting Further Hearing to Consider Issuance of

          Discharge and Dismissal of Pending Non-Core Personal Injury Tort Claims for October 24, 2018

          [ECF 745]. The Court has further considered the following:
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                                                                      CASE NO. 16-10389-BKC-AJC

           •   The Final Report [ECF No. 703] (“Final Report”);

           •   The Notice of Deadline to Object to Debtor’s 1 Statement Re: 11 U.S.C. § 522(q)(1)

               Applicability, et al. [ECF No. 704];

           •   NLG, LLC’s Opposition to Debtor Motion to Reopen Case and Motion for

               Discharge (ECF No. 733);

           •   NLG, LLC’s Objection to Debtor Statement and Discharge [ECF No. 729], which

               the Court notes was withdrawn on the record by counsel for NLG during the August

               9, 2018 hearing;

           •   NLG, LLC’s ore tenus Objection to Debtor’s Discharge during the October 24,

               2018 hearing;

           •   Creditor Valencia Estates Homeowners’ Association, Inc.’s Limited Objection to

               Debtor’s Corrected Motion for Discharge [D.E. 713] [ECF No. 728], which was

               resolved by Agreed Order [ECF No. 734];

           •   Real Time Resolutions, Inc.’s Objection to Debtor’s Motion to Reopen, Final

               Report and Motion for Discharge, and Motion for Entry of Final Decree and to

               Reclose [ECF No. 731], which was withdrawn prior to the hearing [ECF No. 732];

               and

           •   NLG, LLC’s motion to reopen Chapter 11 case [ECF No. 757], and amended and

               expedited motion to reopen case [ECF No. 763].




1
  For purposes of this Order, the term “Debtor” shall also mean the “Reorganized Debtor” pursuant to
this Court’s Order Confirming Plan of Reorganization [ECF No. 691] (the “Confirmation Order”).
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       Having considered the record, including NLG’s Objection and Opposition, 2 and finding

that due and adequate notice has been given and no additional notice is required, the Court grants

the Motion in part and herein enters the discharge of the Reorganized Debtor, and approves the

Final Report. The Motion and Final Report demonstrate the Reorganized Debtor is entitled to to

a discharge pursuant to 11 U.S.C. § 1141(d)(5). However, a Final Decree will not yet be issued

and the case shall not be re-closed at this time.

       I.      11 U.S.C. § 1141(d)(5)(B) – authorizes issuance of discharge to
               individual debtor who has not completed all plan payments

       The Bankruptcy Code provides that an individual debtor’s discharge shall not be entered

by the Court until completion of all payments under the confirmed plan. 11 U.S.C. §1141(d)(5)(A).

An exception exists, however, pursuant to 11 U.S.C. § 1141(d)(5)(B), if, inter alia, an individual

debtor has made all plan payments to unsecured creditors. Section 1141(d)(5)(B) provides:

               (B) at any time after the confirmation of the plan, and after notice
               and a hearing, the court may grant a discharge to the debtor who has
               not completed payments under the plan if –

                       (i) the value, as of the effective date of the plan, of property
               actually distributed under the plan on account of each allowed
               unsecured claim is not less than the amount that would have been
               paid on such claim if the estate of the debtor had been liquidated
               under chapter 7 on such date;
                       (ii) modification of the plan under section 1127 is not
               practicable; and
                       (iii) subparagraph (C) permits the court to grant a discharge.




2
  Although this Court previously determined that NLG is not a creditor and has no claim against the
Reorganized Debtor [see, Final Judgment on Counts I, II and III of Plaintiffs’ Third Amended Complaint
Determining Validity, Priority and Extent of Liens and Setting Trial on Counts IV Through IX, Adv. No.
16-1439-BKC-AJC-A, ECF No. 238], the Court has reviewed the Objection and Opposition and overrules
same.
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Subsection (C) of that same statue further states:

                (C) the court may grant a discharge if, after notice and a hearing held
                not more than 10 days before the date of the entry of the order
                granting the discharge, the court finds that there is no reasonable
                cause to believe that –
                        (i) section 522(q)(1) may be applicable to the debtor; and
                        (ii) there is pending any proceeding in which the debtor may
                be found guilty of a felony of the kind described in section
                522(q)(1)(A) or liable for a debt of the kind described in section
                522(q)(1)(B);
                        and if the requirements of subparagraph (A) or (B) are met.

11 U.S.C. § 1141(d)(5)(C).

        Section 1141(d)(5) allows an individual debtor to seek a discharge after confirmation but

before plan payments are completed as long as the debtor satisfies the requirements of 11 U.S.C.

§ 1141(d)(5)(B). See, 11 U.S.C. § 1141(d)(5); see also, In re Necaise, 443 B.R. 483 (Bankr. S.D.

Miss. 2010) (“after the effective date of the Bankruptcy Abuse Prevention and Consumer

Protection Act of 2005, Pub. L. No. 109-8, 119 Stat. 23 (2005), completion of plan payments

(rather than plan confirmation) discharges an individual debtor. In the alternative, an individual

debtor may seek a discharge before completion of his plan payments, an early discharge, under

either 11 U.S.C. § 1141(d)(5)(A) or (B).”).

        The Court finds that the Reorganized Debtor has complied with the provisions of 11 U.S.C.

§ 1141(b)(5)(B) so as to be entitled to an early discharge. 3 Exhibit “A” attached to both the Motion


3
  The Court notes that during the hearing, counsel for the United States Trustee concurred with the Debtor’s
position regarding her entitlement to entry of discharge upon payment to unsecured creditors:

                MS. ARMENGOL:

                … I can speak as to the procedural propriety of the Court awarding a
                discharge now. I concur with Mr. Pugatch -- and for the record, the code
                section is 1141(d)(5)(A) and (B) -- that if unsecured claims are paid, the
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and Final Report demonstrates that the general unsecured creditors, whose claims were to be paid

in the Plan, have been paid in full. As a result, the value of property [payments] distributed under

the Fourth Amended [Chapter 11] Plan of Reorganization [ECF No. 563] (the “Fourth Amended

Plan”) on account of each unsecured claim is not less than the amount that would have been paid

on such claim if the bankruptcy estate would have been liquidated under chapter 7. Therefore, the

Reorganized Debtor has complied with 11 U.S.C. § 1141(b)(5)(B)(i). The Court takes judicial

notice of Debtor’s Monthly Operating Report (Individual) Corrected for the Period May 1, 2018

to May 31, 2018 [ECF No. 727] and Debtor’s Monthly Operating Report (Individual) for the

Period June 1, 2018 to June 30, 2018 [ECF No. 725] evidencing the total disbursements made

pursuant to the Fourth Amended Plan and Confirmation Order. Moreover, the Court finds 11

U.S.C. § 1141(b)(5)(B)(ii) is not applicable as modification of the Fourth Amended Plan is not

practicable under 11 U.S.C. § 1127.

       II.     The Fourth Amended Plan, the Confirmation Order and this Court’s
               prior Orders provide additional bases to grant relief

       The Fourth Amended Plan, together with the Confirmation Order and this Court’s prior

rulings provide additional authority for issuance of a discharge to the Reorganized Debtor prior to

completion of payments under the Plan. The foregoing documents indicate that the Reorganized


               individual debtor can receive a discharge.
               Looking at the plan, Your Honor, the only other claims were secured. So
               even if she gets a discharge – Ms. Hazan gets a discharge and doesn’t pay
               pursuant to the plan, they still have that security and that lien. And a
               priority claim with the IRS – and I’m not sure where that stands, but Your
               Honor, I believe that under 1141(d)(5)(B), Your Honor has the authority
               to grant the discharge at this time.

Transcript, August 9, 2018 Hearings [17:15-25, 18:1-4].
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Debtor intended to seek the issuance of a discharge upon payments in full to unsecured creditors.

For instance, Article VIII of the Fourth Amended Plan, as confirmed by the Court, provides, in

pertinent part:

                  (e) Upon the satisfaction of all payments required under the Plan to
                  unsecured creditors, the Debtor may file a motion to reopen this
                  bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b). Any Clerk
                  of Court fees associated with filing of the motion to reopen shall be
                  waived. The motion to reopen shall be verified and served upon all
                  creditors and parties in interest and shall demonstrate that the Debtor
                  has made all of the payments contemplated under the Plan to
                  unsecured creditors.


See, Fourth Amended Plan, Article VIII [ECF No. 563], page 30 of 31. [Emphasis added]. The

Court finds that the Reorganized Debtor complied with Article VIII(e) of the Fourth Amended

Plan by filing the Motion which attached as Exhibit “A” a list of payments demonstrating that the

Reorganized Debtor made all plan payments to Class 12 unsecured creditors.

       In addition, Article VIII of the Fourth Amended Plan, as confirmed by the Court, states, in

relevant part:

                  (f) Upon the re-opening of this bankruptcy proceeding, the Debtor
                  shall promptly file a Final Report of Estate and Motion for Final
                  Decree Closing Case on the Court-approved local form, which shall
                  certify that all payments required under the Plan to unsecured
                  creditors have been made. The Court may then grant the Debtor a
                  discharge, pursuant to 11 U.S.C. § 1141(d)(5).


See, Fourth Amended Plan, Article VIII [ECF No. 563], page 31 of 31. [Emphasis added]. The

Court finds that the Reorganized Debtor complied with Article VIII(f) of the Fourth Amended

Plan by filing the Final Report which attached as Exhibit “A” a list of payments demonstrating

that the Reorganized Debtor made all plan payments to Class 12 unsecured creditors.
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       On or about June 12, 2018, this Court entered its Confirmation Order which confirmed the

Fourth Amended Plan and contemplated the issuance of a discharge to the Reorganized Debtor

upon the completion of plan payments to unsecured creditors under the Plan. Specifically,

paragraph 18(e) of the Confirmation Order states:

              (e) Upon the satisfaction of all payments required under the Plan to
              Unsecured Creditors, the Debtor may file a motion to reopen this
              bankruptcy proceeding, pursuant to 11 U.S.C. § 350(b). Any Clerk
              of Court fees associated with filing of the motion to reopen shall be
              waived. The motion to reopen shall be verified and served upon all
              creditors and parties in interest and shall demonstrate that the Debtor
              has made all payments contemplated under the Plan to Unsecured
              Creditors.


See, Confirmation Order [ECF No. 691], page 7 of 8. [Emphasis added]. The Court finds that the

Reorganized Debtor complied with paragraph 18(e) of the Confirmation Order, by filing the

Motion which attached as Exhibit “A” a list of payments demonstrating that the Reorganized

Debtor made all plan payments to Class 12 unsecured creditors.

       In addition, paragraph 18(f) of the Confirmation Order states:

              (f) Upon the re-opening of this bankruptcy proceeding, the Debtor
              shall promptly file a Final Report of Estate and Motion for Final
              Decree Closing Case on the Court-approved local form, which shall
              certify that all payments required under the Plan to Unsecured
              Creditors have been made. The Court may then grant the Debtor a
              discharge, pursuant to 11 U.S.C. § 1141(d)(5).


See, Confirmation Order [ECF No. 691], page 7 of 8. [Emphasis added]. The Court finds that the

Reorganized Debtor complied with paragraph 18(f) of the Confirmation Order by filing the Final

Report which attached as Exhibit “A” a list of payments demonstrating that the Reorganized

Debtor made all plan payments to Class 12 unsecured creditors.
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       On or about June 13, 2018, this Court entered its Agreed Order Granting Reorganized

Debtor’s Ore Tenus Motion to Administratively Close Individual Chapter 11 Case After

Confirmation [ECF No. 692] (the “Agreed Order”). The Agreed Order provides, inter alia:

                Upon the re-opening of this bankruptcy case, the Reorganized
                Debtor shall promptly file a Final Report and Motion for Final
                Decree Closing Case on the Court-approved local form in effect at
                that time, which shall certify, that all payments required under the
                Plan to the unsecured creditors have been made. The Court may
                then grant the Reorganized Debtor a discharge, pursuant to 11
                U.S.C. § 1141(d)(5) if all other conditions are satisfied.


See, Agreed Order [ECF No. 692], page 2 of 3. [Emphasis added]. The Court finds that the

Reorganized Debtor complied with the Agreed Order by filing the Motion and Final Report, with

Exhibit “A” attached to both pleadings, indicating all payments were made by the Debtor to Class

12 unsecured creditors.

       III.     NLG’s Objection and Opposition

       NLG, LLC is the only entity objecting to the granting of a discharge in this case. NLG,

whose claim the Court disallowed, asserted that a discharge should not be granted at this time

because the Debtor has not yet paid Creditor JMB Urban Development Partners, LTD in full. The

Court took the matter under advisement to consider the objection; and upon further consideration

and review of the record, the Court overrules the objection.

       NLG argues that the Court may not enter a discharge order until the Reorganized Debtor

pays JMB in full. The Court disagrees. JMB is not affected by the relief sought and has not objected

to the Debtor receiving a general discharge. Pursuant to the settlement of the adversary proceeding,

in Adv No. 16-1188-BKC-AJC-A [ECF No. 21], the Reorganized Debtor and JMB agreed that
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JMB has a non-dischargeable judgment of $275,000.00. Thus, after receiving its pro rata share of

distributions under the Plan, JMB may continue to pursue payment of its claim outside the Plan.

Likewise, the Reorganized Debtor and the Board of Managers of Spencer Condominium have

agreed that Debtor’s liability in the amount of $109,554.06 to the Board of Managers of Spencer

Condominium would be non-dischargeable. Therefore, this Creditor has also agreed to the granting

of Debtor’s discharge.

       Section 1141(5)(B) of the Bankruptcy Code provides for the granting of a discharge to a

debtor who has not completed payments, if modification of a plan is not practicable and creditors

have received value “not less than the amount that would have been paid on such claim if the estate

of the debtor had been liquidated under chapter 7.” In re Belcher, 410 B.R. 206, 215 (Bankr. W.D.

Va. 2009) (explaining that “§ 1141(d)(5)(B) provides for early discharge in a manner similar to

the ‘hardship discharge’ in chapter 13 cases under § 1328(b).”). In this case, all unsecured

creditors were to be paid in accordance with the Plan, and those payments have been made in full.

JMB and the Board of Managers of Spencer Condominium may pursue the remaining amounts of

their respective non-dischargeable debts outside the Plan. Because the entry of a discharge [of the

claims of the unsecured creditors who were paid in full under the Plan] will not affect JMB or the

Board of Managers of Spencer Condominium, the Court sees no reason to withhold the discharge

when the Debtor has otherwise established entitlement to same.

     The entry of a non-dischargeable judgment, and the outstanding debt thereunder, does not

prevent the early entry of an order of discharge, because a discharge in no way impacts the non-

dischargeable debts. Unsecured creditors holding nondischargeable claims are entitled to collect

the balance of their debts outside the plan. In Newman v. United States (In re Newman), 399 B.R.
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541, 548 (Bankr. M.D. Fla. 2008), the court held that a creditor holding a nondischargeable claim

is not prevented from pursuing post-confirmation collection efforts outside of bankruptcy,

regardless of whether such claim was provided for in the confirmed plan. A nondischargeable debt

may remain after a debtor has emerged from bankruptcy.

       Although the Court believed that, following the August 9, 2018 hearing, the Debtor had

demonstrated compliance with the requirements of 11 U.S.C. § 1141(d)(5), the Court set another

hearing for October 24, 2018 to address whether a discharge should be issued while the

Reorganized Debtor’s non-core tort claims remained pending in an adversary proceeding. [ECF

No. 745]. At the October 24, 2018 hearing, the Reorganized Debtor announced she was

withdrawing her non-core tort claims, thereby alleviating the Court’s concerns. Adv. No. 16-1439-

BKC-AJC-A [ECF No. 358].

       For the foregoing reasons, the Court finds that the Reorganized Debtor has complied with

11 U.S.C. § 1141(d)(5)(B) by demonstrating her completion of all plan payments to general

unsecured creditors under the Fourth Amended Plan and Confirmation Order and has otherwise

complied with the requirements to receive a discharge. However, the Court will refrain from

closing this case at this time as there remains pending the parties’ motions for sanctions and for

contempt, as well as several appeals. It is the policy of the Court to not close a case until all

appeals are finally resolved and over. Therefore, it is

       ORDERED AND ADJUDGED:

           1. The Motion [ECF No. 713] is GRANTED IN PART, and this bankruptcy case is

               RE-OPENED for the sole purpose of approving the Final Report and entering the

               Reorganized Debtor’s discharge consistent with the terms of this order.
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2.   The Final Report is APPROVED.

3. NLG, LLC’s motion and amended motion to re-open Chapter 11 case [ECF Nos.

     757 and 763] are GRANTED IN PART with respect to reopening this case, and

     not closing the case until the final disposition of all pending motions and appeals

     herein, but NLG, LLC’s Opposition and Objection to the granting of the discharge

     are DENIED and OVERRULED.

4. The Reorganized Debtor is entitled to a discharge in accordance with the provisions

     of 11 U.S.C. § 1141(d)(5), and the Fourth Amended Plan and the Confirmation

     Order; thus, the Reorganized Debtor is DISCHARGED pursuant to the provisions

     of 11 U.S.C. § 1141(d) from any debt that arose before the date of such confirmation

     and any debt of any kind specified in Section 502(g), 502(h) or 502(i) of Title 11

     in accordance with the provisions of 11 U.S.C. § 1141(d).

5. The discharge issued to the Reorganized Debtor does not discharge or otherwise

     affect the JMB non-dischargeable judgment.

6. The discharge issued to the Reorganized Debtor does not discharge the Reorganized

     Debtor from her personal monetary liability in the amount of One Hundred Nine

     Thousand Five Hundred Fifty-Four and 06/100 Dollars ($109,554.06) to the Board

     of Managers of Spencer Condominium. The Reorganized Debtor has other non-

     monetary obligations under the Settlement Agreement with the Board of Managers

     of Spencer Condominium, as provided for in the treatment of Class 11 under the

     Fourth Amended Plan and the Confirmation Order, and such non-monetary

     obligations are not impacted by the discharge. The New York courts have exclusive
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                jurisdiction over the settlement between those parties.

           7. This case shall remain open pending the final disposition of all motions herein and

                the outstanding appeals, after which the Court will direct the Clerk of Court to enter

                a Final Decree closing this case.

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Submitted by:

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Attorney for Reorganized Debtor

Attorney Geoffrey Aaronson is directed to serve a copy of this Order on all interested parties and
to file a certificate of service with the Court.
